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                        U NITED STA TES D ISTRICT CO URT
                                D ISTRICT OF NEV ADA

UNITED STATES OF AMERICA,                          )
                                                   )
                   Plaintiff,                      )
                                                   )
vs.                                                )
                                                   )       2:10-CR-557-LDG -RJJ
SERGIO ARELLANO,JR.,                               )
                                                   )
                   Defendam.                       )
                                                   )

                       PRELIM INARY ORDER O F FORFEITURE
             ThisCourtfindsthaton August25,2011,defendantSERGIO ARELLANO,JR.spled
guilty to CountOne ofa O ne-countSuperceding Crim inalInform ation charging him in CountO ne
withConspiracytoDistributeaControlledSubstance-Cocaine,inviolation ofTitle21,UnitedStates

Code,Sections846,841(a)(1)and(b)(1)(C).Docket#2l,//92,#       -    . .



        '
        rhis Courttinds defendantSERGIO ARELLANO,JR.,agreed to the forfeiture ofthe
property setforth in ForfeitureAllegationsoftheSuperceding CriminalInform ationand agreedto in
the Plea M em orandum .#21,#92,# ,# .

       This Courttinds,pursuantto Fed.R.Crim.P.32.2(b)(l)and (2),the United Statesof
Am ericahasshowntherequisitenexusbetween propertysetforth intheForfeitureAllegationsofthe
Superceding Crim inallnformation and the Plea M emorandum and theoffensesto which defendant
SERGIO ARELLAN O,JR.,pled guilty.
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e



     1              ThefollowingassetsaresubjecttoforfeiturepursuanttoTitle21.UnitedStatesCode,
    2 Section 853(a)(1);Title21,United StatesCode,Section853(a)(2);Title21,United StatesCode,
    3 Section 881(a)(11)andTitle28,United StatesCode,Section2461(c);and Title 18,United States
    4 Code,Section924(d)(l),(2)(C),and(3)(B)andTitle28,United StatesCode,Section2461(c):
    5               a)OneRemingtonM odel870MarineM agnum shotgun,serialnumberA8537083M ;
    6               b)anyandallammunition;and
    7               c)$15,780.00inUnitedStatesCurrency.
     8              This Courttindsthe United StatesofAm erica isnow entitled to,and should,reducethe
    9 l aforementionedpropertytothepossessionoftheUnitedStatesofAmerica         ,
      .  i
    10              N O W TH EREFO RE,IT IS H EREBY ORD ERED,A D JUD G ED ,A N D DECREED thatthe
    11 United StatesofAm ericashould seizetheaforem entioned property.
    12              IT IS FURTHER ORDERED ,ADJUDGED,AND DECREED al1lightstitle,andinterestof
    13 SER GIO A R ELLAN O,JR .,in the aforem entioned property is forfeited and isvested in the U nited
    14       StatesofAmericaand shallbcsafelyheld by the United StatesofAm ericatmtilfurtherorderofthe
    15 Court.
    16              IT IS FURTHER ORDERED,ADJUDGED,AND DECREED theUnitedStatesofAm erica

    17 shallpublish foratIeastthirty(30)consecutivedayson theofficialinternetgovernmentforfeiture
    18 website,w ww.forfeiture.gov, or the fas Vegas Review Journal/sun, a newspaper of general
    19 circulation,noticeofthisOrder,which shalldescribetheforfeitedproperty,statethetimeunderthe
    20 applicable statute when a petition contesting the forfeiture m ustbe filed,and state the name and
    21 contactinformation forthe govermnentattorney to be served with the petitionspursuantto Fed,R.
    22 Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section 853(n)(2).
    23              IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED apetition,ifany,mustbetiled
    24 witlltheClerk oftheCourt,333 LmsVegasBoulevard South,LasVegas,Nevada 89101.
    25
    26


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        IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition, ifany,
shallbe sen'ed upon the AssetFodkiture Attonwy ofthe United States Attorney's Oftice atthe
following addressatthe time ofliling:
              M ICHA EL A .H UM PHR EY S
              A ssistantU nited StatesA ttorney
              D AN IEL D .H OLLIN G SW ORTH
              A ssistantU nited States Attorney
              NevadaStateBarN(!.1925
              Lloyd D.GeorgeUnlted StatesCourthouse
              333 Las V egasBoulevard South,Suite 5000
              LasVegas,N evada 89101
        IT IS FURTHER ORDERED ,ADJUDGED ,AND DECREED tbenoticedescribed herein
need notbe published in the eventa Declaration ofForfeiture is issued by the appropriate agency
following publication ofnoticeofseizure and intentto adm inistratively forfeitthe above-described
property.
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        DATEDtlusJk dayor                                ,2o11.


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